Case 1:18-cv-21346-JLK Document 38 Entered on FLSD Docket 06/18/2019 Page 1 of 6




                           UNITED STATES DISTRICT COURT
                           SOUTH ERN DISTRICT OF FLORIDA
                                  M IAM IDIVISIO N

                               CASE NO .1:18-CV-21346-JLK

 GIIEAT AM ERICAN INSUM NCE
 COM PAN Y,aforeign corporation,

        Plaintiff,



 SEABOARD M ARINE,LTD .,lN C.,
 a fbreign corporation,

        Defendant.
                                       /

      O RDER DENYING DEFENDANT'S M O TION FO R SUM M ARY JUDGM ENT

        THIS M ATTER comesbefore the Courtupon DefendantSeaboard M arine,Ltd.,

 (idseaboardM arine'')M otionforSummaryJudgment(D.E.16),filedM ay l4,2019.1
           BACKGRO UND

        This subrogation suitarisesoutof the theh ofa forty-footshipping containerasitwas

 being transportedbytruck to aportwhereitwasto beloaded onto avesseldestined fortheUnited

 States. According to three billsoflading datedN ovember15,2017,DefendantSeaboardM arine

 contractedwithnon-partyDarikEntemrises,Inc.('dtheseafoodowner'')totransportthousandsof
 cases offrozen seafood from isplace of receipt''Rama,Nicaragua to Ssportofloading''Puerto

 Limon,CostaRica;thenviavesselç*AngelinaJ#''toiiportofdischarge''Brooklyn,NY;andfinaliy
                                                                                     i
 t $klaceofdelivery''Elizabeth,New Jersey(seeD.E,16-2,at6-9).                        l
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 1The Courthasalso considered PlaintiffsResponse in Opposition (D.E.18),filed M ay 28,2019;alld
 Defendant'sReply(D,E.34),filedJune4,2019.                                                   )
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Case 1:18-cv-21346-JLK Document 38 Entered on FLSD Docket 06/18/2019 Page 2 of 6
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            is undisputed thaton November 16,2017,containerNo.CXRU 155737 8 wts
 transportedby DefendantSeaboard M arinebytruck from CentralAmerican Fisheriesto theCosta

 Rican border,andonNovember17,2017 itwastransportedtoDefendant'scontaineryard Stlocated

 afew milesoutsidePuertoLimon,CostaRica''(D.E.16,at3,!! 7-8).Then,onNovember2û,
 2017at12:48 a.m.,thecontainerdeparted Defendant'scontaineryardfortheportdtwhereitw4s
                                                                                              l
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 tobeloadedontotheshipAngelina,whichwasscheduledtodepartthatday''(D.E.16,at4,!9).
 Itisundisputedthecontainerwaslostintheareabetweenthecontaineryardandtheport,whiih
                                                                                              )
                                                                                              :
 isknown astheSdcarousel''(D.E.16,at2).2 Plaintiffattachesto itsComplaintaçssubrogatign
                                                                                              !
 Receipt''signedbytheseafoodownerforthelossatissue(D.E.1,at7).                                y
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          ln the instantM otion forSum mary Judgm ent, Defendantarguesthat(çgplursuantto thl
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 expresstermsoftheResponsibility clause ofgDefendant's)billoflading termsand conditions
                                                                                      l,
 (Defendant)isnotliableforlossarisingfrom hijacking andisthereforeentitledtojudgmentasi
                                                                                      ja
                                                                                              l
 matterOflaw''(D.E.16,at8). ln response,Plaintiffarguesthat(a)theHarterActprohibitsla
                                                                                              $
 canierfrom usingtermsandconditionsinitsbillofladingtoavoidliability(D.E,18,at4-11t)
                                                                                   t;
 and(b)Defendanthasnotmetitsburdenundertheburden-shiftingfrnmework oftheCarriage(!
                                                                                 )f
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                                                                                 j
 GoodsbyseaActof1935($icOGSA'')toshow itwasnotatfault(id.at11-15).               r
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    II.      DISCUSSION                                                                       @
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             A . LegalStandard on Sum m ary Judgm ent                                         l
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          Summaryjudgmentisappropriatewherethereist'nogenuineissueastoanymaterialfatt
 and thatthe moving pal'
                       ty isentitled tojudgmentasa matteroflam '' Fed.R.Civ.P.56(ç)



 7DefendantproffersthedepositionofPlaintifpscorporaterepresentative,JuliaPrice,foracknowledgeme/
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                                                                                                t
                                         jackerswhostolethecontainer,, (D.E.l6,at4,!11),b?t
 thatthecontainerwasd'interceptedbyarmedhi
 Plaintiffdisputesthat'çM s.Pricewasacompetentwitnessto providetestimony astotheallegedcausepf
 Ioss''(D.E.19,! 1l).                                                                       l
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Case 1:18-cv-21346-JLK Document 38 Entered on FLSD Docket 06/18/2019 Page 3 of 6
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     (emphasisadded);Anderson v.fiberty Lobby,Inc.,477 U.S.242,247-48 (1986). An issueSs
                                                                                                  q
     genuineifareasonablefactsndercouldreturnaverdictforthenonmovingparty. Mi
                                                                            zev.Jefferssn
                                                                                                  i
     CityBd.ofEduc.,93F.3d739,742(11thCir.1996).AfactismaterialifitmayaffecttheoutcoYe
                                                                                                  I
     ofthecaseundertheapplicablesubstantivelaw.Allen v.Tyson Foods,Inc.,121F.3d 642,616
                                                                                       l
     (11thCir 1997).lfareasonablefactfindercould draw morethan oneinferencefrom thefact!
              .                                                                        s,
                                                                                       )
                                                                                                  j
 creatingagenuineissueofmaterialfact,summaryjudgmentshouldnotbegranted. Samples#x
                                                                                  l
 rel.Samplesv.City ofAtlanta,846 F.2d 1328,1330(11thCir.1988).Themovingpartyhastlje
     burdenofestablishingboththeabsenceofagenuineissueofmaterialfactandthatitisentitledjlo
                                                                                                  )
 iudgmentasamatteroflaw.SeeMatsushita Elec.Indus.Co.v.ZenithRadio Corp.,106 S.Ct.
 1348                                                                          l
     ,1356(1986).                                                              ;
                                                                               (
          B.                     ' BillofLadingisVoid UndertheH arter Act      i
                                                                               l
             Clause4(b)ofDefendants
                                                                                                  !
           DefendantSeaboard MarinearguesthatitisnotliableforthelossatissuebecauseClause
                                                                                                  k
 4(b)ofitsBillofLadingTermsandConditionsist    'anenforceableprovision...reflectingtjle
 Parties'agreementtoallocateriskintheeventofahi
                                              jacking''(D.
                                                         E.16,at8).Theprovisionstateh:            .
                                                                                                  l
           The Carriershallnotbe liable in any capacity whatsoeverfor...actsofthieves,            k
           hijacking   . . .   orany otherlossordamageto orin connectionwith theGoodsor           i
                                                                                                  j
            Containersorotherpackagesoccurringatanytimecontemplated undersubdivision              !
 *
                                                                                                  l
           a)ofthisClause.                                                                        l
     (D.E.16-1,at2-3).Subdivision(a)ofthatClausedefinestheapplicabletimeasçsduringtheentitqe
 timetheCanierisresponsibleforthe goods.''3                                                       ;
                                                                                                  I
                                                                                                  J
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                                                                                                  !
     3Thefulldescriptionoftherelevanttimeperiod inClause4(a)is:                                   j
            . .   beforeloadingonandafterdischargefrom thevesselandthroughouttheentiretime        l
           theGoodsorContainersorotherpackagesarein thecare,custody and/orcontrolofthe            1
            Canier,itsagents,servants,Participatingcarriersorindependentcontractors(inclusiveof   .
            allsubcontractors),whetherengagedbyoracting fortheCarrieroranyotherperson,and
            during theentiretim ethe Carrierisresponsible fortheGoods.
     (D.E.l6-1,at2).
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Case 1:18-cv-21346-JLK Document 38 Entered on FLSD Docket 06/18/2019 Page 4 of 6
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           PlaintiffcountersthattheHarterActappliestothisaction (D
                                                                        E.18,at4-11).TheHartrlr
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 Actstatesthata((canierengagedinthecarriageofgoodstoorfrom anyportintheUnitedStatesr
                                                                                   t,,
                                                                                                  i
 46U,SC.j30702(a),$1
                   maynotinsertinabillofladingorshippingdocumentaprovisionavoidiljg               (
 its liability for lossor damage arising from negligence orfaultin . . . custody,care,or propt@r

 delivery,''id j30704. SsAny suchprovision isvoid.''Id. TheEleventh Circuithasrecognized
 thatthe HarterActgovernsa canier'scustody or care ofproperty during the preloading phasç,
                                                                                                  )
 AllstateIns.Co.v.1nt1Shi
                        ppingCorp.,703F.2d497,499(11thCir.1983)(sfBecausethedamap:e
 hereundeniablyoccurredpriortothetimethegoodswereloaded,theHarterAct...controls.'').
                                                                                                  1
 InAllstate,acarrierthatcontractedto ship cargo from M obile,A labam ato San Juan,Puerto Riqo
                                                                                                  )
 brokethesealsofthe itemswhilestillin M obile,Alabama.1d.at498.TheEleventh Circuitstatpd
                                                                                       i          .


 thatwhenacarrierCdacceptgs)custodyoftheEcargo)itundertlakesjallobligationsimposed uppn
                                                                                      1
 acarrierbytheHarterAct...includingtheresponsibilitiesofacommonlaw bailee.''f#.at499:4
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          Here,Defendantitself assertsthatthe forty-foot shipping container departed its oWn
                                                                                                  I
 containeryard at12:48a.m.ifforcarriageinthecarouseltotheportterminal,whereitwastole
                                                                                   I
                                                                                   ;
 loaded ontotheship Angelina,which wasscheduledto departthatday''(D.E.16,at4,! 91
                                                                                ).
                                                                                  1
 DefendantcitestotheafûdavitofitsownDirectorofCompliance,DanO'Nei11,forthisfactlià;
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     The HarterAct,originally passed in 1893,was largely supplanted by the Carriage ofGoodsby Sea Akt
 of 1936 (i$COGSA''),now codified asthe note following 46 U.S.C.j30701. Although COGSA by ii
                                                                                           !s
 termsonlygovernsfortheperiodthatcargo isloaded ontoan oceanvessel,acarriermay extendCOGSA
 bycontracttotheentiretimethegoodsareinitscustody,(Cincludingaperiodofinlandtransport.''Kawasati
 KisenKaishaLtd.v.Regal-BeloitCorp.,561U.S.89,96(2010)(internalquotationmarksomitted).Herk,
 Clause4(a)ofDefendant'sBillofLadingTermsand ConditionsextendsCOGSA tothetime(sbefoi     .
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 loadingon,A thevessel.However,courtsthathave((upheldcontractualextensionsofCOGSA toperiops
 ordinarilycoveredbytheHarterAct,''havedonesoonlytotheextentthatCOGSA doesnotcontlictwij 'h
 theHarterAct.PTlndonesiaEpsonIndus.v.OrientOverseasContainerLine,Inc.,219F.Supp.2d 126$ :
                                                                                          ,
 1269 (S.D.Fla.2002)(Jordan,J.);e.g.,UncleBen,sIntern.Div.of Uncle Ben,s,Inc.v.Hapag-Llo)?d
 Akteingesellschaf,855F.2d215,2l7(5thCir.1988);FruitoftheLoom v.ARAWAK CaribbeanLineLt4,
 126F.Supp.2d1337,1341-42(S.D.Fla.1998)(Lynch,M .J.).Therefore,SeaboardMarine'scontractuhl
 extension ofCOGSA in itsbilloflading hasno bearing on whetherthe HarterActapplieshere. l
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Case 1:18-cv-21346-JLK Document 38 Entered on FLSD Docket 06/18/2019 Page 5 of 6
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 seealsoD.E.16-2,at4,! 18),anditisthepositionofbothpartiesthatthtcargowaslostS%gajftir
 departingfrom thecontaineryard''(D.E.16,at4,! l1;D.E.19,! 11). Therefore,theCouz
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 '

 concludesthattheSicarousel''areawherethecargowaslostiscertainlypartofthepreloadingphap't
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 governed bytheHarterActin thisCircuit. SeeAllstateIns.Co.,703 F.2d at498.                     :
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        In its Reply,                                                                          l
                      Defendantcitesastringofcasesfrom aroundthefederaljudiciary for$e
 p0sition thatidthe HarterActdoesnotapply to a (loss)occuning during the inland phase ofia
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 multimodalcaniage''(D,E.34,at4),evenwheninthecustodyofthecanier(id at5).Inthet'
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 caseinthisline,Jagenberg,Inc.v.GeorgiaPortsAuthority 882F.Supp.1065(S.D.Ga.1995ij,
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 the courtfound isitadvisabletokeep sea carriersto thestandardsim posed by theHarterActuntil
                                                                                               i
 goodsareinthehandsoflandcarriersandactuallyleavingthemaritimearena.''1d.at1078.ln
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 Jagenberg,cargo wasturned overto aseparateentity ata portin Savannah,Georgia forstoragk,
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 andwasdamaged whilebeingretrievedfrom thestorageareaby an tiinlandtruckerhiredby (tl!e
                                                                                               ë
 seacanier)to take itto M acon.'' 1d.at1069. Defendantcitesothercasesapplying the sanje
                                                                                               i
 reasoningasinJagenberg,allfrom outsidetheEleventh CircuitandallinvolvingcargolostJ/4r
                                                                                               I
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 itwasunloadedfrom avessel(id.at4-5).5Regardless,thisCourtdeclinestocabintheHarterAtt,


 5ThecasesareMannesman Demag Corp.v.M /V CONCERTFATAF5X,225F.3d 587,588,594-95 (5t,           h
 Cir.2000)(cargodamaged en routeby truck from portin Baltimore,M aryland to TerreHaute,lndianj);
 Suzlon WindEnergyCorp.v.ShippersStevedoring CasNo.11-07-155,2008W L 686206,at*3-4,l8(S.D.
 Tex.Mar.7,2008)(cargodamagedwhilebeingloadedontotruckatportinHouston,Texas,destinedfi  1
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 Minnesota);GreatAm.Ins.Co.ofN J:v.A/P Moller-MaerskA/S,482F.Supp.2d 357,358(S.D.N.Y.   ï
 2007)(cargohijackedwhilebeingtransportedbytruckfrom portinGuatemalatoGuatemalaCity);Sony
 Computer Ent.Inc.v.Ni ppon Express U S.   A.(Illinois),Inc.,3l3 F.Supp.2d 333,334-35,337,36)0
 (S.D.N.Y.2004)(cargo originated in Japan stolenfrom containeryard inNew Jersey whilein possessi/n
 ofrailway);Philips-Van Heusen Corp.v.MitsuiO.S.K LinesLtd,No.CiV.A.l:CV-00-0665,2002 WL      .
 32348263,at#3,5(M.D.Penn.Aug.14,2002)  -(-ç
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 whilethecontainersrestedinHarrisburg,,, Pennsylvaniaonjourneyfrom portinNewJersey);AbbotChenq,
 Inc.v.M olinosdePuerto Rico,Inc.,62 F.Supp.2d 44l,444,449-50 (D.P.R.1999)(soy gritsdamagid
 whiledepositedinsilosinPuertoRicoforstorageaftershipmentfrom Louisiana);andColgatePalmolih
 Co.v.M/P-''
           ATLANTICCONVEYOR'',NO.95Civ.159(MBM),1996WL74286l,at*1,6(S.D.N.y.
 Dec. 3l, 1996) (cargo damaged during transport by truck from port in Baltimore, Maryland fo
 Jefïkrsonville,lndiana).                                                                 !
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Case 1:18-cv-21346-JLK Document 38 Entered on FLSD Docket 06/18/2019 Page 6 of
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  whichbyitstermsappliestoatscarrierengagedinthecarriageofgoodstoorfrom anyportintlle          J

  United St                                                                                    !
                ates,''46 U.S.C.j 30702(a),and which theEleventh Circuitspeciscally extendstoja
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 canier,spossession ofcargo priorto loading onto aship, Allstatelns.Ct).,703 F.2d at498,to #1
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 arbitrary pointatwhichthearenaisno longerSçm aritime.''                                   i
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 '            iigw jhen GulfCaribbean accepted custody ofthe extrusions itundertook allobligatioàs
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 i                                                                                       j
  mposed upon acarrierby the HarterAct.'' AllstateIns.Co.,703 F.2d at499. The Courthold)s
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 thatthe same istrue here:when Seaboard M arine accepted custody ofthe seafood container,!
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                                                                                         it
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 undertookallobligationsimposedon itby theHarterAct,underwhich Clause4(b)ofitsTenss
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  nd Conditionsisvoid.                                                                         i
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       111.                                                                                    I
                 CONCLUSION                                                                    j
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              Underfederal1aw thatgovernsthecaniageofgoodstoandfrom portsoftheUnitedStateà,

 Clause4(b)inDefendantcarrier'sBillofLadingTermsandConditionsisvoidanddoesnjt
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 exculpateDefendantcarrierfrom liabilityforlossofcargoinitspossessionpriortoloadingtlje
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 cargo onto a vessel. Accordingly,itis ORDERED,ADJUDGED,and DECREED thit
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 D              N                                                                              I
     efendantsM otion forSummaryJudgment(D.E.16)be,andthesameis,herebyDENIED. k
              DONE and ORDERED in Cham bers at the Jnmes Lawrence King Federal Justiçe
 B
 .                                                                                             i
  uildingand United StatesCourthousein M iami,Florida,on this 18th day ofJune,2019.            j



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                                                 AM ES LAW RENCE KIN G
                                                UNITED STATES DISTRICT           GE
                                                SOUTHERN DISTRICT OF F           IDA
 CC:      AIICounselofR ecord




 tiBecauseClause4(b)doesnotapply,thisactionisgovernedbyCOGSA'Sburden-shiftingframework.
 Sony MagneticProds.Inc.ofAmericav.M erivienti0/F,863F.2d 1537,1539(1lthCir.1989).
                                                   6
